            IN THE SUPREME COURT OF
                   CALIFORNIA

                 In re KENNETH D., a Person Coming
                     Under the Juvenile Court Law.



                PLACER COUNTY DEPARTMENT OF
                 HEALTH AND HUMAN SERVICES,
                     Plaintiff and Respondent,
                                 v.
                                J.T.,
                     Defendant and Appellant.

                                     S276649

                          Third Appellate District
                                 C096051

                      Placer County Superior Court
                               53005180

                                August 19, 2024

Justice Corrigan authored the opinion of the Court, in which
Chief Justice Guerrero and Justices Liu, Kruger, Groban,
Jenkins, and Evans concurred.

Justice Groban filed a concurring opinion, in which Chief
Justice Guerrero concurred.
This opinion precedes companion case In re Dezi C., S275578, also filed this date.
                        In re KENNETH D.
                              S276649


               Opinion of the Court by Corrigan, J.


      The federal Indian Child Welfare Act of 1978 (25 U.S.C.
§ 1901 et seq.; ICWA) and California implementing law require
juvenile dependency courts and appropriate agencies to inquire
into a child’s native heritage and to notify a relevant tribe if
there exists “reason to know that an Indian child is
involved . . . .” (25 U.S.C. § 1912(a); see Welf. &amp; Inst. Code,
§§ 224.2, 224.3, subd. (a).) The question here is, when the
required initial inquiry was inadequate, may an appellate court
consider postjudgment evidence to conclude the error was
harmless?
     We hold that, absent exceptional circumstances, a
reviewing court may not generally consider postjudgment
evidence to conclude the error was harmless. The sufficiency of
an ICWA inquiry must generally be determined by the juvenile
court in the first instance.         Because no exceptional
circumstances exist here, the Court of Appeal’s consideration of
previously unadmitted evidence on appeal was error. In In re
Dezi C. (_______, 2024, S275578) ___ Cal.5th ___ (Dezi C.), also
filed today, we address the appropriate standard of harmless
error review where the inquiry into a child’s native heritage was
inadequate, and conclude that a judgment must be conditionally
reversed when error results in an inadequate ICWA inquiry.
(Dezi C., at p. ___ [p. 38.]) Here, as in Dezi C., there is no dispute
that the inquiry below was inadequate. We reverse the Court of
Appeal’s judgment with directions to conditionally reverse the

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                Opinion of the Court by Corrigan, J.


juvenile court’s order terminating parental rights and remand
for compliance with ICWA and California implementing
statutes.
                     I. BACKGROUND
      Born eight weeks prematurely, minor Kenneth D.
(Kenneth) tested positive for amphetamine and syphilis shortly
after his delivery. His mother, C.B. (mother) admitted using
methamphetamine throughout her pregnancy, including three
days before his birth. Mother had given birth under similar
circumstances in 2016 and that son was removed from her
custody. At the time of Kenneth’s birth, mother had been living
with T.D., who was also suspected of drug use. The Placer
County Department of Health and Human Services (the
department) filed a juvenile dependency petition to remove
Kenneth from the custody of mother and T.D. (Welf. &amp; Inst.
Code, § 300, subds. (b)(1), (j).)
      The initial detention report by the department indicated
mother was not sure whether T.D. or another man, B.F., was
Kenneth’s father. The department asked mother and T.D. about
their potential native heritage. Mother stated she might have
native ancestry on her father’s side through a tribe from
Kentucky, though she was not an enrolled member. T.D.
indicated he might have Cherokee ancestry on his mother’s
side.1 At the detention hearing, however, both mother and T.D.
denied having any native heritage and the juvenile court found
ICWA did not apply. Kenneth was placed into the department’s
temporary custody.



1
     The department made similar inquiries of B.F.


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                 Opinion of the Court by Corrigan, J.


      Paternity testing revealed that neither T.D. nor B.F. was
Kenneth’s biological father. J.T. (J.T. or father) was later
confirmed as being Kenneth’s parent. The next hearing a month
later occurred before the results of J.T.’s paternity test had been
received. The juvenile court recognized T.D. as the presumed
father, noting he had submitted a voluntary declaration of
paternity and his name appeared as the father on Kenneth’s
birth certificate. Kenneth was adjudged a dependent and
removed from the parents’ custody, with visitation and
reunification services ordered. The court found ICWA did not
apply. The court did not initially offer services to J.T. but
indicated the matter could be placed back on calendar if testing
confirmed his paternity. The court did not ask about J.T.’s
potential native heritage. After receiving the paternity test
result, the department could not locate father and he was not
present during a court hearing for a three-month review.
      At the six-month review hearing, the juvenile court
terminated reunification services for mother and T.D. and set
the matter for a termination of parental rights hearing. (Welf.
&amp; Inst. Code, § 366.26.) J.T. was present at that time and
requested a continuance, explaining that his attorney was not
available. He told the court he would request reunification
services and amendment of Kenneth’s birth certificate. The
court denied a continuance and instead instructed father to file
a petition to modify or terminate jurisdiction. (Welf. &amp; Inst.
Code, § 388.) Again, without inquiry of J.T., the court found
ICWA did not apply.
      The department recommended the parental rights of
mother and T.D., as well as father, be terminated and Kenneth
be cleared for adoption by his foster family. The department’s
report indicated it had contacted the maternal grandmother,

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                         In re KENNETH D.
                 Opinion of the Court by Corrigan, J.


who said her family did not have any native heritage. The
department also contacted T.D.’s mother, who indicated the
same. Neither J.T. nor his family was contacted as to possible
native heritage. At the termination hearing, father stated his
counsel again could not attend. He did not object to termination
of his rights but did seek visitation. The juvenile court
terminated parental rights and approved the adoption plan for
Kenneth. The court made no mention of ICWA. Father filed a
notice of appeal.
      On April 29, 2022, before the filing of an opening brief in
the Court of Appeal, the department requested that the
appellate court augment the record on appeal. The motion
attached an April 27 memo describing the department’s
postjudgment efforts to comply with ICWA.            The memo
indicated the department contacted father on April 21, 2022. He
“stated that he thought he might have Cherokee ancestry out of
Oklahoma” and suggested contacting his mother for further
information. That same day, the department did so. J.T.’s
mother denied that J.T. had native heritage. Instead, she
reported that “all of their family comes from Mexico.” She said
she had “completed a blood DNA ancestry test which came back
stating that they had Native Heritage.” She explained that “all
of her family is actually from Culicán Sinaloa, Mexico,”
identified her parents, and stated both of her paternal
grandparents were born in Mexico. She was unaware of any
Native American heritage and assumed her DNA test results
were due to her Mexican ancestry. The memo further reported
the department had contacted someone at the federal Bureau of
Indian Affairs (BIA), who confirmed that, though the
grandmother’s DNA findings indicated native ancestry, her
other relatives were from Mexico and thus not federally


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                         In re KENNETH D.
                 Opinion of the Court by Corrigan, J.


recognized under ICWA. (See post, at p. 8, fn. 3.) According to
the BIA, unless the grandmother knew the name of the tribe or
is registered with one, the child is not considered an Indian
child. Based on this information, the memo then asserted the
department had no reason to know Kenneth is an Indian child.
It requested that the Court of Appeal find ICWA was properly
noticed and did not apply. The memo had been filed with the
juvenile court on April 28, 2022, the day before the motion to
augment in the Court of Appeal. The Court of Appeal granted
the motion.
      The only issues raised by J.T. on appeal were the failure
to comply with the inquiry and notice provisions of ICWA and
the significance of that failure. (See Welf. &amp; Inst. Code, § 224 et
seq.; Cal. Rules of Court, rule 5.480 et seq.) In a published
opinion, the Court of Appeal concluded any error was harmless
in light of the augmented record. (See In re Kenneth D. (2022)
82 Cal.App.5th 1027, 1034–1035.)
      We granted father’s petition for review. The sole issue
before us is whether the Court of Appeal properly considered
postjudgment evidence in concluding that any ICWA error was
harmless. We begin with the relevant portions of ICWA and the
state implementing scheme.
                       II. DISCUSSION
      A. Duty of Inquiry and Notice under ICWA and
         California Implementing Law
     “In 1978, Congress enacted the Indian Child Welfare Act
(ICWA) out of concern that ‘an alarmingly high percentage of
Indian families are broken up by the removal, often
unwarranted, of their children from them by nontribal public
and private agencies.’ [Citation.] Congress found that many of


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                          In re KENNETH D.
                  Opinion of the Court by Corrigan, J.


these children were being ‘placed in non-Indian foster and
adoptive homes and institutions,’ and that the States had
contributed to the problem by ‘fail[ing] to recognize the essential
tribal relations of Indian people and the cultural and social
standards prevailing in Indian communities and families.’
[Citation.] [These state actions] harmed not only Indian parents
and children, but also Indian tribes.” (Haaland v. Brackeen
(2023) 599 U.S. 255, 265.)
      “At the heart of the ICWA are its provisions concerning
jurisdiction over Indian child custody proceedings.” (Mississippi
Choctaw Indian Band v. Holyfield (1989) 490 U.S. 30, 36.) As
relevant here, “[i]n any State court proceeding for the foster care
placement of, or termination of parental rights to, an Indian
child not domiciled or residing within the reservation of the
Indian child’s tribe, the court, in the absence of good cause to the
contrary, shall transfer such proceeding to the jurisdiction of the
tribe, absent objection by either parent, upon the petition of
either parent or the Indian custodian or the Indian child’s
tribe . . . .” (25 U.S.C. § 1911(b).) “Various other provisions of
ICWA Title I set procedural and substantive standards for those
child custody proceedings that do take place in state court. The
procedural safeguards include requirements concerning notice
and appointment of counsel; parental and tribal rights of
intervention and petition for invalidation of illegal proceedings;
procedures governing voluntary consent to termination of
parental rights; and a full faith and credit obligation in respect
to tribal court decisions.” (Mississippi Choctaw Indian Band, at
p. 36.) ICWA also describes a preference for placement of Indian
children with their extended families, members of their tribe, or
other Indian families. (See 25 U.S.C. § 1915; Haaland v.
Brackeen, supra, 599 U.S. at pp. 266–268.)


                                   6
                         In re KENNETH D.
                 Opinion of the Court by Corrigan, J.


      “The minimum standards established by ICWA include
the requirement of notice to Indian tribes in any involuntary
proceeding in state court to place a child in foster care or to
terminate parental rights ‘where the court knows or has reason
to know that an Indian child is involved.’ ” (In re Isaiah W.
(2016) 1 Cal.5th 1, 8 (Isaiah W.); see 25 U.S.C. § 1912(a); 25
C.F.R. § 23.11 (2024).) The tribe has a right to “intervene at any
point in the proceeding” to invalidate a prior order of placement
or termination of parental rights made in violation of ICWA.
(25 U.S.C. § 1911(c); see 25 U.S.C. § 1914; see also Welf. &amp; Inst.
Code, § 224.4; Cal. Rules of Court, rule 5.487(a).) The notice
requirements “facilitate a determination of whether the child is
an Indian child under ICWA” and “ensure[] that an Indian tribe
is aware of its right to intervene in or, where appropriate,
exercise jurisdiction over a child custody proceeding involving
an Indian child.” (Isaiah W., at p. 8.)
      “In 2006, our Legislature enacted provisions that affirm
ICWA’s purposes [citation] and mandate compliance with
ICWA.” (Isaiah W., supra, 1 Cal.5th at p. 9; see In re W.B. (2012)
55 Cal.4th 30, 52; see also Welf. &amp; Inst. Code, § 224 et seq.; Cal.
Rules of Court, rule 5.480 et seq.) After passage of new federal
regulations in 2016, California made additional amendments to
portions of the Welfare and Institutions Code related to ICWA
notice and inquiry requirements. (Stats. 2018, ch. 833, §§ 2–8;
Stats. 2020, ch. 104, § 15.)
     The protective provisions of ICWA turn on a
determination of whether a minor is an “Indian child” as defined




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                          In re KENNETH D.
                  Opinion of the Court by Corrigan, J.


by statute.2 “A determination by an Indian tribe that a child is
or is not a member of, or eligible for membership in, that tribe,
or testimony attesting to that status by a person authorized by
the tribe to provide that determination, shall be conclusive.”
(Welf. &amp; Inst. Code, § 224.2, subd. (h); see Cal. Rules of Court,
rule 5.481(b)(4); 25 C.F.R. § 23.108 (2024).) Of course, a tribe
may only make such determination, or exercise its right of
intervention, if it is made aware of the ongoing proceedings.
Accordingly, the scheme requires the appropriate tribe be
notified when the court or county welfare agency has reason to
know the child is Indian. 3 (Welf. &amp; Inst. Code, § 224.3, subd. (a);
see 25 U.S.C. § 1912(a); 25 C.F.R. § 23.111(a) (2024).)



2
       An “ ‘Indian child’ ” is defined as an unmarried minor who
“is either (a) a member of an Indian tribe or (b) is eligible for
membership in an Indian tribe and is the biological child of a
member of an Indian tribe” (25 U.S.C. § 1903(4)). An “ ‘Indian
tribe’ ” is defined as “any Indian tribe, band, nation, or other
organized group or community of Indians recognized as eligible
for the services provided to Indians by the Secretary [of the
Interior] because of their status as Indians . . .” (25 U.S.C.
§ 1903(8); see Welf. &amp; Inst. Code, § 224.1, subd. (a).). For
simplicity we use the term “tribe” to include all the groups
identified as eligible to receive federal services. (See 25 C.F.R.
§ 83.6(a) (2024) [duty to publish list of eligible tribes annually];
88 Fed.Reg. 2112 (Jan. 12, 2023) [2023 list].)
3
       Welfare and Institutions Code section 224.2, subdivision
(d) lists several instances creating a reason to know a child is
Indian. These include that the child, a person having an interest
in the child, any participant in the proceedings, an officer of the
court, or a representative of a tribe indicates the child is Indian;
the child resides on a reservation or has been a ward of a tribal
court; or the child or parent has identification indicating tribal
membership or citizenship. (Welf. &amp; Inst. Code, § 224.2, subd.
(d)(1)–(6); see Cal. Rules of Court, rule 5.481(b).)


                                   8
                          In re KENNETH D.
                  Opinion of the Court by Corrigan, J.


      Fulfilling the notification duty requires sufficient inquiry
into the child’s native heritage. “The court, county welfare
department, and the probation department have an affirmative
and continuing duty to inquire whether a child . . . [facing a
dependency or delinquency proceeding] is or may be an Indian
child.” (Welf. &amp; Inst. Code, § 224.2, subd. (a); see Cal. Rules of
Court, rule 5.481(a).) California’s statutory scheme imposes a
duty of initial inquiry on both the department and the court.
The department’s duty arises when a report of abuse or neglect
is made and/or when the county takes the child into its
temporary custody. 4 (Welf. &amp; Inst. Code, § 224.2, subds. (a), (b).)
The inquiry “includes, but is not limited to, asking the child,
parents, legal guardian, Indian custodian, extended family
members, others who have an interest in the child, and the party
reporting child abuse or neglect, whether the child is, or may be,
an Indian child and where the child, the parents, or Indian
custodian is domiciled.” (Welf. &amp; Inst. Code, § 224.2, subd. (b).)5


4
      We have granted review in In re Ja.O. (2023) 91
Cal.App.5th 672, review granted July 26, 2023, S280572, to
decide whether the inquiry duty under Welfare and Institutions
Code section 224.2, subdivision (b) applies to children taken into
custody by means of a protective custody warrant (Welf. &amp; Inst.
Code, § 340). That issue is not before us, and we express no view
on it here.
5
      A parent includes “any biological parent . . . of an Indian
child” (25 U.S.C. § 1903(9)). An extended family member is
“defined by the law or custom of the Indian child’s tribe or, in
the absence of such law or custom, shall be a person who has
reached the age of eighteen and who is the Indian child’s
grandparent, aunt or uncle, brother or sister, brother-in-law or
sister-in-law, niece or nephew, first or second cousin, or
stepparent.” (25 U.S.C. § 1903(2); see Welf. &amp; Inst. Code,
§ 224.1, subd. (c).)


                                   9
                          In re KENNETH D.
                  Opinion of the Court by Corrigan, J.


Then, on the first appearance upon a petition, “the court shall
ask each participant present in the hearing whether the
participant knows or has reason to know that the child is an
Indian child.” (Welf. &amp; Inst. Code, § 224.2, subd. (c); see Cal.
Rules of Court, rule 5.481(a)(2); 25 C.F.R. § 23.107(a) (2024).)
       A duty of further inquiry exists when “the court, social
worker, or probation officer has reason to believe that an Indian
child is involved in a proceeding, but does not have sufficient
information to determine that there is reason to know that the
child is an Indian child . . . .” (Welf. &amp; Inst. Code, § 224.2, subd.
(e), italics added.) There is reason to believe a child is Indian
when there exists “information suggesting that either the
parent of the child or the child is a member or may be eligible
for membership in an Indian tribe.” (Welf. &amp; Inst. Code, § 224.2,
subd. (e)(1); see id., subd. (d).) Further inquiry includes, but is
not limited to, interviewing the parents and extended family
members, contacting the BIA and the State Department of
Social Services for assistance, and contacting the relevant tribe
and “any other person that may reasonably be expected to have
information regarding the child’s membership, citizenship
status, or eligibility.” (Welf. &amp; Inst. Code, § 224.2, subd.
(e)(2)(C); see id., subd. (e)(2); Cal. Rules of Court,
rule 5.481(a)(4).)
      If proper inquiry reveals information creating reason to
know a minor is an “Indian child,” the relevant tribe must be
notified, and “the court shall treat the child as an Indian child
unless and until the court determines on the record and after
review of the report of due diligence . . . and a review of the
copies of notice, return receipts, and tribal responses . . . that
the child does not meet the definition of an Indian child . . . .”
(Welf. &amp; Inst. Code, § 224.2, subd. (i)(1); see Cal. Rules of Court,

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                          In re KENNETH D.
                  Opinion of the Court by Corrigan, J.


rule 5.481(b)(3); 25 C.F.R. § 23.107(b) (2024).) Otherwise, “[i]f
the court makes a finding that proper and adequate further
inquiry and due diligence as required in this section have been
conducted and there is no reason to know whether the child is
an Indian child, the court may make a finding that . . . [ICWA]
does not apply to the proceedings, subject to reversal based on
sufficiency of the evidence.” (Welf. &amp; Inst. Code, § 224.2, subd.
(i)(2); see Cal. Rules of Court, rule 5.481(b)(3)(A).) Further, if a
court or party subsequently receives information suggesting a
reason to believe the child is Indian, the court must order
further inquiry. (Welf. &amp; Inst. Code, § 224.2, subd. (i)(2).)
      B. Appellate Review of Determination That ICWA
         Does Not Apply and Consideration of
         Postjudgment Evidence
      Here, the Court of Appeal recognized “the abject failure of
the Department and juvenile court to inquire as to father’s
possible Native American heritage . . . .” (In re Kenneth D.,
supra, 82 Cal.App.5th at p. 1034.) The department does not
disagree but argues any failure of inquiry at the trial court level
was cured by its later, postjudgment interview of father and the
paternal grandmother. The department asserts its inquiry
provided “conclusive information” that “father does not have any
Native American heritage,” and ICWA does not apply. Based on
this assertion, the department urges a remand to the juvenile
court for further ICWA inquiry would “be a futile act.” Father
counters the Court of Appeal could not properly consider the
department’s postjudgment inquiry and the proper remedy is a
conditional remand to the juvenile court. We agree with father.




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                         In re KENNETH D.
                 Opinion of the Court by Corrigan, J.


     We turn to standards of appellate review. As noted, the
Welfare and Institutions Code 6 provides that “[i]f the court
makes a finding that proper and adequate further inquiry and
due diligence as required in this section have been conducted
and there is no reason to know whether the child is an Indian
child, the court may make a finding that [ICWA] does not apply
to the proceedings, subject to reversal based on sufficiency of the
evidence.” (§ 224.2, subd. (i)(2).) In reviewing a conclusion that
ICWA does not apply, some courts have applied a standard
substantial evidence test, “which requires us to determine if
reasonable, credible evidence of solid value supports the court’s”
ICWA finding. (In re A.M. (2020) 47 Cal.App.5th 303, 314; see
D.S. v. Superior Court (2023) 88 Cal.App.5th 383, 390; In re
M.M. (2022) 81 Cal.App.5th 61, 70, review granted Oct. 12,
2022, S276099.) By contrast, other courts have used a hybrid
standard, reviewing for substantial evidence whether there is
reason to know a minor is an Indian child, and reviewing a
finding of due diligence and proper inquiry for abuse of
discretion. (See In re E.C. (2022) 85 Cal.App.5th 123, 143–144;
In re K.H. (2022) 84 Cal.App.5th 566, 600–602; see also In re
Caden C., supra, 11 Cal.5th at pp. 639–641.)
      We need not resolve here which standard applies as no one
disputes the inquiry conducted below was inadequate and, thus,
that the court’s ICWA finding lacked adequate support. As
noted, with regard to J.T.’s heritage, the trial court never made
any inquiry of its own nor did it find that the department’s
inquiry was proper and sufficient. We characterize the trial
court’s finding as implicit because, without such a finding, its


6
      Subsequent statutory references will be to the Welfare and
Institutions Code unless noted.


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                         In re KENNETH D.
                 Opinion of the Court by Corrigan, J.


obligation would have been to order further inquiry to ensure
that the appropriate tribe had notice and was given the
opportunity to intervene before the court terminated parental
rights and approved the adoption plan. Even accounting for the
initial confusion as to the identity of Kenneth’s father, paternity
testing eventually brought J.T. within the definition of “parent”
under ICWA. (See § 224.1, subd. (c); 25 U.S.C. § 1903(9).) At
that point, both the department and the court were required to
ask J.T. about his potential native heritage. (See § 224.2, subds.
(b), (c); see also Cal. Rules of Court, rule 5.481(a)(2).)
      “On a well-developed record, the court has relatively broad
discretion to determine whether the agency’s inquiry was
proper, adequate, and duly diligent on the specific facts of the
case. However, the less developed the record, the more limited
that discretion necessarily becomes. When, as in this case, the
court’s implied finding that the agency’s inquiry was proper,
adequate, and duly diligent rests on a cursory record and a
patently insufficient inquiry that is conceded, the only viable
conclusion is that the finding is unsupported by substantial
evidence and the court’s conclusion to the contrary constitutes a
clear abuse of discretion.” (In re K.H., supra, 84 Cal.App.5th at
p. 589; see In re E.C., supra, 85 Cal.App.5th at pp. 156–157.)
Such is the case here. (See In re K.H., at pp. 605–606; In re
Ricky R. (2022) 82 Cal.App.5th 671, 679–680 (Ricky R.).)
Similarly here, on this cursory record, where the parties do not
dispute that the ICWA inquiry was inadequate, we agree it
cannot stand.
      The department does not argue that the inquiry made
before termination of parental rights was adequate. Instead, it
asserts the postjudgment inquiry rendered any error harmless.
We reject the contention.

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                         In re KENNETH D.
                 Opinion of the Court by Corrigan, J.


      Ordinarily, appellate courts review a trial court’s
judgment based on the record as it existed when the trial court
ruled. (In re Zeth S. (2003) 31 Cal.4th 396, 405 (Zeth S.).) It is
ultimately within the purview of the juvenile court to make
determinations of credibility and assessments of adequacy
because it is uniquely positioned to reach these conclusions
based on its familiarity with the case and those involved. The
department’s assertion that its postjudgment report rendered
any prior failure of inquiry harmless “necessarily requires that
we treat the factual assertions therein as undisputed, which we
cannot do” because, absent exceptional circumstances, “[t]his
type of factfinding is precisely what must occur in the juvenile
court in the first instance [citation], where additional and
possibly competing evidence may be offered; and the court, on a
more fully developed record, will assess weight and credibility
as appropriate, and make its factual findings.” (In re E.C.,
supra, 85 Cal.App.5th at p. 150; see In re G.H. (2022) 84
Cal.App.5th 15, 32–33; Ricky R., supra, 82 Cal.App.5th at p.
682.)
       Our conclusion is fully consistent with Zeth S., supra, 31
Cal.4th 396 and In re Josiah Z. (2005) 36 Cal.4th 664(Josiah Z.), neither of which involved ICWA. In Zeth S., the
minor’s counsel advocated for termination and represented that
the maternal grandfather was ready and willing to adopt. Over
the mother’s objection, the juvenile court terminated parental
rights and approved adoption as the permanent plan. (Zeth S.,
at p. 403.) On the mother’s appeal, the minor’s appellate counsel
submitted a letter brief stating counsel had conducted her own
investigation of the minor’s current circumstances and found
Zeth did well when the mother visited him, the mother had
assumed primary caretaking duties during these visits, and the


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                         In re KENNETH D.
                 Opinion of the Court by Corrigan, J.


maternal grandfather “ ‘felt pressure to adopt [the minor] and
preferred to become [the minor’s] legal guardian.’ ” (Ibid.) The
minor’s appellate counsel joined with the mother in arguing
parental rights should not have been terminated. After
supplemental briefing, the Court of Appeal reversed based, in
part, on appellate counsel’s letter. (Id. at p. 404.) Zeth S.
reversed, noting “[i]t has long been the general rule and
understanding that ‘an appeal reviews the correctness of a
judgment as of the time of its rendition, upon a record of matters
which were before the trial court for its consideration,’ ” and
“[t]here is no blanket exception to the general rule for juvenile
dependency appeals.” (Id. at p. 405.) The court reasoned that
“[t]he chief problem with the Court of Appeal’s approach,
however well intentioned it was, is that it effectively substitutes
the reviewing court’s own post hoc determination of whether
termination of parental rights remains in the minor’s best
interests for the legislatively mandated determination that
follows when the comprehensive juvenile dependency statutory
scheme is dutifully adhered to in the trial court. . . . The
statutory scheme does not authorize a reviewing court to
substitute its own judgment as to what is in the child’s best
interests for the trial court’s determination in that regard,
reached pursuant to the statutory scheme’s comprehensive and
controlling provisions.” (Id. at pp. 409–410, fn. omitted.)
Similarly    here,    California’s   comprehensive      scheme
implementing ICWA contemplates the juvenile court will make
the threshold determinations as to adequate inquiry and reason
to know. A reviewing court’s determination that a postjudgment
ICWA inquiry was sufficient substitutes its judgment for that of
the juvenile court, which is to make those findings in the first
instance.


                                 15
                         In re KENNETH D.
                 Opinion of the Court by Corrigan, J.


      In Josiah Z., the minors were put in a nonrelative
placement after the juvenile court terminated parental rights.
The minors’ counsel challenged the placement, arguing the
children should have been placed with the paternal
grandparents. The juvenile court found no abuse of discretion
in the placement, noting the grandparents’ criminal record. The
minors appealed. (Josiah Z., supra, 36 Cal.4th at p. 672.) As
relevant here, Josiah Z. addressed whether appellate counsel
had authority to move to dismiss the minors’ appeal based on
counsel’s own assessment of what was in their best interests. In
concluding counsel could so move, Josiah Z. rejected the
argument “that hearing a motion to dismiss the appeal based on
appellate counsel’s best-interests assessment would violate the
proscription against consideration of postjudgment evidence on
appeal” under Zeth S. (Id. at p. 676.) Although cautioning that
“an appellate court should not consider postjudgment evidence
going to the merits of an appeal and introduced for the purposes
of attacking the trial courts judgment,” Josiah Z. suggested that
“the generally applicable appellate rules authorize such a
motion [to dismiss], and appellate courts routinely consider
limited postjudgment evidence in the context of such motions.”
(Ibid.) Whether a child should be permitted to abandon a
challenge to the trial court ruling is a limited question “distinct
from the broader issues resolved by the trial court.” (Ibid.) In
this context, Josiah Z. concluded consideration of postjudgment
evidence expedited proceedings and promoted finality.
     The reasoning of Josiah Z. does not apply here. That case
turned on whether parties could properly dismiss their own
appeal based on a reassessment of current circumstances by
appellate counsel. Dismissing an appeal in such a case would
not place an appellate court in the position of usurping the


                                 16
                         In re KENNETH D.
                 Opinion of the Court by Corrigan, J.


factfinding function generally given to the juvenile court. By
contrast here, the complete failure to inquire about father’s
native heritage would necessitate reversal for further
investigation but for the Court of Appeal’s consideration of the
department’s postjudgment inquiry evidence and its own
assessment that this evidence was credible and sufficient. As In
re E.C. reasoned, “[w]hile we recognize that the Department is
seeking to shore up the juvenile court’s judgment rather than
undermine it [citation], this distinction does not overcome the
general proscription against routinely accepting postjudgment
evidence to resolve issues raised on appeal, absent exceptional
circumstances not present here . . . .” (In re E.C., supra, 85
Cal.App.5th at p. 150.)
     The department asserts Code of Civil Procedure section
909 supports its position. That provision states: “In all cases
where trial by jury is not a matter of right or where trial by jury
has been waived, the reviewing court may make factual
determinations contrary to or in addition to those made by the
trial court. The factual determinations may be based on the
evidence adduced before the trial court either with or without
the taking of evidence by the reviewing court. The reviewing
court may for the purpose of making the factual determinations
or for any other purpose in the interests of justice, take
additional evidence of or concerning facts occurring at any time
prior to the decision of the appeal, and may give or direct the
entry of any judgment or order and may make any further or
other order as the case may require. This section shall be
liberally construed to the end among others that, where feasible,
causes may be finally disposed of by a single appeal and without
further proceedings in the trial court except where in the



                                 17
                         In re KENNETH D.
                 Opinion of the Court by Corrigan, J.


interests of justice a new trial is required on some or all of the
issues.”
     We cautioned in Zeth S. that, although this provision
generally authorizes appellate courts to make factual
determinations in nonjury cases, such authority “ ‘should be
exercised sparingly,’ ” and “ ‘[a]bsent exceptional circumstances,
no such findings should be made.’ ” (Zeth S., supra, 31 Cal.4th
at p. 405, quoting Tyrone v. Kelley (1973) 9 Cal.3d 1, 13, italics
omitted.) As one court observed, “claims of error under ICWA
are not rare and will not typically present the type of exceptional
circumstances warranting deviation from the general rule” that
appellate courts should not engage in factfinding. (In re K.H.,
supra, 84 Cal.App.5th at p. 612.) Indeed, if we accept the
department’s position, it is unclear how it could be cabined to
the ICWA context, as it would seem to countenance appellate
courts’ receipt of new evidence in any case involving harmless
error review, making consideration of such evidence routine
rather than exceptional.         Cases have properly rejected
application of Code of Civil Procedure section 909 to an appellate
inquiry of whether ICWA was properly complied with. (See In
re E.C., supra, 85 Cal.App.5th at p. 135; In re G.H., supra, 84
Cal.App.5th at pp. 32–33; Ricky R., supra, 82 Cal.App.5th at p.
682.)
      We have applied Code of Civil Procedure section 909 when
warranted. For example, in In re D.P. (2023) 14 Cal.5th 266, we
held the father’s appeal from the juvenile court’s finding of
dependency jurisdiction was mooted by that court’s later
termination of jurisdiction while the appeal was pending.
Nevertheless, we remanded the matter to the Court of Appeal to
“allow Father [the opportunity] to introduce additional evidence
in support of discretionary review if appropriate,” citing Code of

                                 18
                         In re KENNETH D.
                 Opinion of the Court by Corrigan, J.


Civil Procedure section 909. (In re D.P., at p. 287.) Unlike the
present case, however, the additional evidence contemplated in
D.P. pertained not to the underlying merits of the issue on
appeal, i.e., whether the juvenile court properly exercised
dependency jurisdiction, but to the collateral issue of whether
the Court of Appeal should exercise its discretion in deciding a
technically moot case. Although we affirm that appellate
factfinding under Code of Civil Procedure section 909 is proper
when exceptional circumstances are shown, such circumstances
have not been demonstrated here.7
      The department makes no effort to establish this case
involved exceptional circumstances warranting appellate
factfinding under Code of Civil Procedure section 909. Instead,
it repeatedly asserts its postjudgment memo should be
considered because it provided “conclusive information showing
that father does not have any Native American heritage . . . .”
       However, the nature of this evidence only highlights why
it should be presented to the juvenile court rather than for the
first time on appeal. The department’s interview of paternal
grandmother suggested she believed that any native heritage
reflected in a DNA test derived from her Mexican ancestry.
Whether the paternal grandmother’s explanation should be
credited, as well as whether the department’s efforts constituted
“proper and adequate further inquiry and due diligence”
(§ 224.2, subd. (i)(2)), are determinations the statutory scheme

7
      We need not further discuss here what circumstances
might be sufficiently exceptional to permit an appellate court to
invoke Code of Civil Procedure section 909. We urge, however,
that any receipt of postjudgment evidence and appellate
factfinding should be exercised sparingly lest the exception
swallow the rule.


                                 19
                          In re KENNETH D.
                  Opinion of the Court by Corrigan, J.


contemplated should be made by the juvenile court in the first
instance. At most, the department’s proffer provided additional
evidence from which the juvenile court could have determined
whether an adequate inquiry into Kenneth’s native heritage had
been made, which, in turn, would have bolstered a conclusion
that there was no reason to know Kenneth was an Indian child.
Absent exceptional circumstances not present here, evidence on
those issues should be presented to the juvenile court in the first
instance for that court’s determinations regarding the adequacy
of the inquiry and whether ICWA applies under these
circumstances.
      Evidence of a postjudgment inquiry also is not a proper
subject of augmentation or judicial notice. A reviewing court
may order the appellate record augmented to include “[a]ny
document filed or lodged in the case in superior court . . . .” (Cal.
Rules of Court, rule 8.155(a)(1)(A).) However, “[a]ugmentation
does not function to supplement the record with materials not
before the trial court” when it made its order. (Vons Companies,
Inc. v. Seabest Foods, Inc. (1996) 14 Cal.4th 434, 444, fn. 3; Ricky
R., supra, 82 Cal.App.5th at p. 681.) Although the department
lodged its memo with the juvenile court, it did so only after that
court’s judgment, when the case was already on appeal. “The
augmentation procedure cannot be used to bring up matters
occurring during the pendency of the appeal because those
matters are outside the superior court record.” (In re K.M.
(2015) 242 Cal.App.4th 450, 456.) Similar reasoning applies to
judicial notice requests: “ ‘Reviewing courts generally do not
take judicial notice of evidence not presented to the trial court’
absent exceptional circumstances.” (Haworth v. Superior Court
(2010) 50 Cal.4th 372, 379, fn. 2; see Evid. Code, §§ 452, subd.
(d), 453.) As discussed, no exceptional circumstances appear


                                  20
                         In re KENNETH D.
                 Opinion of the Court by Corrigan, J.


here. Further, a court “ ‘ “may take judicial notice of the
existence of each document in a court file, but can only take
judicial notice of the truth of facts asserted in documents such
as orders, findings of fact and conclusions of law, and
judgments.” ’ ” (People v. Franklin (2016) 63 Cal.4th 261, 280.)
The department’s postjudgment memo did not constitute such a
document.
      Contrary to the department’s suggestion, routinely
allowing evidence of postjudgment ICWA inquiry to cure defects
in the inquiry performed before judgment would not promote
“the state’s strong interest in the expeditiousness and finality of
juvenile dependency proceedings . . . .” (Zeth S., supra, 31
Cal.4th at p. 412; see Josiah Z., supra, 36 Cal.4th at p. 676.) As
we have noted, “Indian tribes have interests protected by ICWA
that are separate and distinct from the interests of parents of
Indian children.” (Isaiah W., supra, 1 Cal.5th at p. 13.) “The
relevant rights under ICWA belong to Indian tribes and they
have a statutory right to receive notice where an Indian child
may be involved so that they may make that determination.” (In
re K.H., supra, 84 Cal.App.5th at p. 591.) Because tribes have a
right to intervene and even overturn prior judgments for failure
to comply with ICWA (see Welf. &amp; Inst. Code, § 224.4; 25 U.S.C.
§§ 1911(c), 1914), the lack of timely and proper inquiry can
undermine expeditious resolution and call into doubt the
finality of juvenile court orders. (See In re A.R. (2022) 77
Cal.App.5th 197, 208.) Further, routinely having an appellate
court consider these questions in the first instance, as opposed
to the juvenile court, which is more familiar with all the relevant
circumstances, only increases the chances of an erroneous
finding that a sufficient inquiry has been conducted. We
disapprove In re Allison B. (2022) 79 Cal.App.5th 214, 218–220


                                 21
                         In re KENNETH D.
                 Opinion of the Court by Corrigan, J.


and In re A.B. (2008) 164 Cal.App.4th 832, 843 to the extent they
suggest that an appellate court may routinely consider these
questions in the first instance.
     We emphasize the narrowness of our holding. Where the
juvenile court finds that ICWA does not apply based on an
inadequate inquiry into a child’s native heritage, an appellate
court, absent exceptional circumstances, may not consider
evidence uncovered during a postjudgment inquiry to conclude
the failure to conduct a proper inquiry was harmless.
      In sum, the Court of Appeal below properly concluded the
required inquiry into a child’s native heritage did not satisfy
statutory mandates. Because exceptional circumstances were
not present here, the reviewing court should not have gone on to
consider evidence of the department’s postjudgment inquiry to
conclude the error was harmless. Consistent with our decision
in Dezi C., supra, ___ Cal.5th ___, we reverse the judgment here
and order a conditional remand to the juvenile court for a proper
inquiry and further proceedings. (See In re C.L. (2023) 96
Cal.App.5th 377, 392; In re V.C. (2023) 95 Cal.App.5th 251, 262–
263.) Nothing we say here undermines the authority conferred
by Code of Civil Procedure section 909 when exceptional
circumstances have been established.
                      III. DISPOSITION
       The Court of Appeal’s judgment is reversed with directions
to conditionally reverse the juvenile court’s order terminating
parental rights. The matter is to be remanded to the juvenile
court for compliance with the inquiry and notice requirements
of sections 224.2 and 224.3. If the juvenile court thereafter finds
a proper and adequate inquiry, conducted with due diligence,
has taken place and there is no reason to know minor is an


                                 22
                           In re KENNETH D.
                   Opinion of the Court by Corrigan, J.


Indian child, making ICWA inapplicable, (§ 224.2, subd. (i)(2)),
the court shall reinstate the order terminating parental rights.
If the juvenile court concludes ICWA applies, it shall proceed in
conformity with ICWA and California implementing provisions.
(See 25 U.S.C. § 1912(a); Welf. &amp; Inst. Code, §§ 224.2, subd.
(i)(1), 224.3, 224.4.)


                                                      CORRIGAN, J.
We Concur:
GUERRERO, C. J.
LIU, J.
KRUGER, J.
GROBAN, J.
JENKINS, J.
EVANS, J.




                                   23
                      In re KENNETH D.
                            S276649


            Concurring Opinion by Justice Groban


      I agree with the majority that the Court of Appeal
improperly considered postjudgment evidence in order to find
that error in complying with the Indian Child Welfare Act of
1978 was harmless. (ICWA; 25 U.S.C. § 1901 et seq.) The
majority rightly acknowledges “that appellate factfinding under
Code of Civil Procedure section 909 is proper when exceptional
circumstances are shown.” (Maj. opn., ante, at p. 19.)1 I concur
that, on the facts of this case, “exceptional circumstances” have
not been demonstrated here. (Ibid.) The memorandum from the
Placer County Department of Health and Human Services
(department) presented for postjudgment review contained
conflicting hearsay statements concerning Kenneth D.’s Indian
ancestry: Kenneth D.’s father “stated that he thought he might
have Cherokee ancestry out of Oklahoma” while the paternal
grandmother stated the father’s statement was “not accurate”
and that she was “unaware of any Native American Heritage.”
As the majority explains, this kind of conflicting evidence
“should be presented to the juvenile court in the first instance
for that court’s determinations regarding the adequacy of the
inquiry and whether ICWA applies under these circumstances.”
(Id. at p. 20.)    The circumstances of this case are not



1
     Subsequent unspecified statutory references are to the
Code of Civil Procedure.


                               1
                         In re KENNETH D.
                        Groban, J., concurring


“ ‘exceptional.’ ” (In re Zeth S. (2003) 31 Cal.4th 396, 405, italics
omitted (Zeth S.).)
      The majority also rightly emphasizes “the narrowness of
our holding” (maj. opn., ante, at p. 22) and clarifies that
“[n]othing we say here undermines the authority conferred by
. . . section 909 when exceptional circumstances have been
established” (ibid.). I write separately to make clear that section
909 continues to be a vehicle to admit postjudgment evidence in
the appropriate case.2
      Future cases may present circumstances that are more
exceptional than those presented here, thereby making reliance
on postjudgment evidence appropriate. For example, in In re
A.B. (2008) 164 Cal.App.4th 832 (A.B.), the Court of Appeal
found exceptional circumstances existed to augment the record
with a copy of the mother’s ICWA form that disclaimed any
Indian heritage. (Id. at p. 843.) Similarly, in In re E.L. (2022)
82 Cal.App.5th 597, after the mother completed and signed an
ICWA form stating that she may be part of the Tohono O’odham
Nation, the Court of Appeal granted the prospective adoptive
parent’s request to augment the record with letters from the
Tohono O’odham Nation confirming that the mother’s children
were not members of the tribe for the purposes of ICWA. (E.L.,
at p. 608.) One can envision other examples that would qualify


2
      I also write separately in the opinion issuing today In re
Dezi C. (August 19, 2024, S275578) ___ Cal.5th ___ (Dezi C.). My
dissenting opinion in Dezi C. explains that I would apply People
v. Watson (1956) 46 Cal.2d 818 by adopting the Court of Appeal’s
harmless error standard, rather than adopting the majority’s
automatic conditional reversal rule for ICWA error. I note there
that section 909 continues to be a viable vehicle to deal with the
unique circumstances presented there.


                                  2
                         In re KENNETH D.
                        Groban, J., concurring


as “ ‘exceptional.’ ” (Zeth S., supra, 31 Cal.4th at p. 405, italics
omitted.)     Imagine, for example, a situation where the
department submits declarations explaining that both parents
were native to a European country and had recently emigrated
from that country, thereby making it essentially impossible that
the child had American Indian ancestry. There may also be
cases where the Court of Appeal allows for supplemental
briefing and the opportunity for oral argument related to an
ICWA inquiry (e.g., In re Allison B. (2022) 79 Cal.App.5th 214,
219 (Allison B.)) and the opposing party does not contest, or even
affirmatively admits, the accuracy of postjudgment evidence
demonstrating that the child is not of Indian descent. There
may also be instances where a party presents postjudgment
evidence that allows the Court of Appeal to determine that the
party claiming noncompliance with ICWA has brought the
appeal solely for purposes of delay. (Cf. In re A.R. (2022)
77 Cal.App.5th 197, 207 [“If Mother has brought this appeal for
the purposes of achieving delay, as county counsel suggests, we
condemn such tactics”].) There may also be situations where the
specific circumstances of the parent or child present a more
compelling case for expedited resolution, e.g., there is evidence
that further delay may cause the child to lose a beneficial,
permanent placement.       (See In re Christopher L. (2022)
12 Cal.5th 1063, 1081 [“ ‘There is little that can be as
detrimental to a child’s sound development as uncertainty over
whether he is to remain in his current “home,” under the care of




                                  3
                        In re KENNETH D.
                       Groban, J., concurring


his parents or foster parents, especially when such uncertainty
is prolonged’ ”].)3
      I also agree with the majority that the department’s
postjudgment memorandum does not constitute a proper use of
judicial notice. (Maj. opn., ante, at pp. 20–21.) As the majority
notes, “ ‘ “Reviewing courts generally do not take judicial notice
of evidence not presented to the trial court” absent exceptional
circumstances.’ ” (Id. at p. 20, quoting Haworth v. Superior

3
       The majority cites with approval several cases that
refused to admit postjudgment material pursuant to section 909.
(Maj. opn., ante, at p. 18, citing In re E.C. (2022) 85 Cal.App.5th
123, 135; In re G.H. (2022) 84 Cal.App.5th 15, 32–33; In re Ricky
R. (2022) 82 Cal.App.5th 671, 682.)             I note that these
postjudgment materials, like the materials here, appear to
contain contested information from hearsay sources. For
instance, in Ricky R., the department sought consideration of a
declaration stating “that the social worker spoke to maternal
grandmother and maternal aunt in June 2022, and both of them
reported no Indian ancestry.” (Ricky R., supra, 82 Cal.App.5th
at p. 680.) However, that same declaration also reported that
the social worker contacted the paternal grandmother and
paternal great-grandmother and they reported that paternal
great-great-grandparents had stated that “the family was
“ ‘ “part Indian,” ’ ” but the paternal grandmother and paternal
great-grandmother “could not remember which tribe.” (Ibid.)
As the majority correctly concludes, this kind of disputed
information does not provide the kind of “ ‘exceptional
circumstances’ ” contemplated by section 909. (Zeth S., supra,
31 Cal.4th at p. 405, italics omitted.)          The majority also
disapproves Allison B., supra, 79 Cal.App.5th at pages 218–220
and A.B., supra, 164 Cal.App.4th at page 843 “to the extent they
suggest that an appellate court may routinely consider these
questions in the first instance.” (Maj. opn., ante, at p. 22.) I
agree that the use of section 909 should not be “ ‘routine[]’ ”
(Allison B., at p. 219; see A.B., at p. 841), but I do not read the
majority as deciding that the specific use of section 909 based on
the narrow facts presented in those cases was improper.


                                 4
                        In re KENNETH D.
                       Groban, J., concurring


Court (2010) 50 Cal.4th 372, 379, fn. 2.) However, court
documents, such as an ICWA form signed under penalty of
perjury, may qualify as a court record under Evidence Code
section 452, subdivision (d). (See A.B., supra, 164 Cal.App.4th
at p. 839; In re Z.N. (2009) 181 Cal.App.4th 282, 298–301.)
Similarly, one might envision a situation where there was a
recent or contemporaneous dependency case involving a sibling
with the same parents. (See A.B., at p. 839; Z.N., at p. 301.) If
court documents revealed a comprehensive ICWA inquiry was
recently performed in the sibling’s proceeding, it may be
appropriate to take judicial notice of those documents on appeal.
     In sum, courts reviewing ICWA determinations must
balance two sometimes competing interests: ICWA establishes
the laudatory goal of “ensuring that the issue of Native
American ancestry is addressed in every case [so] that we can
ensure the collective interests of the Native American tribes will
be protected.” (In re E.V. (2022) 80 Cal.App.5th 691, 697.)
However, courts must also ensure the prompt resolution of
dependency proceedings in order to achieve “a stable,
permanent placement that allows a caretaker to make a full
emotional commitment to the child.” (In re Celine R. (2003)
31 Cal.4th 45, 59.) There are likely to be exceptional future
cases where uncontroverted, postjudgment evidence reveals
that the child is not of Indian descent. In such instances, it is
appropriate for the appellate court to rely upon section 909 to
consider that information. This will allow appellate courts to
avoid a situation whereby a beneficial, permanent placement for
a child is delayed so that the dependency court can engage in
needless additional inquiry as to the child’s ICWA status.
Where even a four-month delay in dependency proceedings “can
be a lifetime to a young child” (In re Marilyn H. (1993) 5 Cal.4th


                                 5                       In re KENNETH D.
                      Groban, J., concurring


295, 310), courts should avoid unnecessary delay in cases where
clear postjudgment evidence demonstrates that additional
ICWA inquiry would be pointless. The majority does not
foreclose the use of section 909 in such an exceptional case.


                                               GROBAN, J.
I Concur:
GUERRERO, C. J.




                                6
See next page for addresses and telephone numbers for counsel who
argued in Supreme Court.

Name of Opinion In re Kenneth D.
__________________________________________________________

Procedural Posture (see XX below)
Original Appeal
Original Proceeding
Review Granted (published) XX 82 Cal.App.5th 1027Review Granted (unpublished)
Rehearing Granted
__________________________________________________________

Opinion No. S276649
Date Filed: August 19, 2024
__________________________________________________________

Court: Superior
County: Placer
Judge: Colleen M. Nichols
__________________________________________________________

Counsel:

Janette Freeman Cochran, under appointment by the Supreme Court,
for Defendant and Appellant.

Karin E. Schwab, County Counsel, Lydia B. Stuart, Jason M. Folker
and Becky Martin, Deputy County Counsel, for Plaintiff and
Respondent.
Counsel who argued in Supreme Court (not intended for
publication with opinion):

Janette Freeman Cochran
301 East Colorado Boulevard, Suite 304
Pasadena, CA 91101
(626) 584-9823

Jason M. Folker
Deputy County Counsel
175 Fulweiler Avenue
Auburn, CA 95603
(530) 886-4630
